                         EXHIBIT F
Case 2-19-20905-PRW, Doc 2222-6, Filed 09/15/23, Entered 09/15/23 14:06:46,
                Description: Exhibit F Invoice 01187, Page 1 of 7
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com


Official Committee of Unsecured Creditors of                              Issue Date :      7/20/2023
The Diocese of Rochester, New York
                                                                                Bill # :       01187



Matter: Insurance

                             PROFESSIONAL SERVICES RENDERED


Date     Timekeeper     Narrative                                                   Hours    Amount
6/1/2023 Jesse Bair     Correspondence with I. Nasatir re First State counter        0.10     $62.50
                        (.1);
6/5/2023 Jesse Bair     Correspondence with B. Michael re Interstate                 0.10      $62.50
                        mediation (.1);
6/6/2023 Jesse Bair     Correspondence with I. Nasatir re response to latest         0.10      $62.50
                        First State offer (.1);
6/7/2023 Timothy Burns Reviewed and responded to correspondence re First             0.30     $210.00
                        State settlement negotiations (.2); reviewed
                        correspondence from I. Scharf re mediation updates
                        (.1);
6/7/2023 Jesse Bair     Review I. Scharf correspondence re case updates and 0.10               $62.50
                        status (.1);
6/7/2023 Jesse Bair     Review additional correspondence with I. Nasatir and T. 0.10           $62.50
                        Burns re potential First State counter (.1);
6/11/2023 Jesse Bair    Draft revised insurance overview summary for use             0.70     $437.50
                        during upcoming mediation with Interstate (.6);
                        correspondence with T. Burns re same (.1);
6/12/2023 Timothy Burns Review Interstate summary sheet for mediation (.2);          1.10     $770.00
                        review I. Scharf correspondence re Interstate
                        negotiations (.1); correspondence with J. Bair re same
                        (.1); prepare for state court counsel meeting (.1);
                        participate in state court counsel meeting for insurance
                        purposes re upcoming Interstate mediation (.4);
                        participate in post-call meeting with J. Bair re Interstate
                        mediation strategy (.2);
6/12/2023 Jesse Bair    Review I. Scharf correspondence re Interstate                0.10      $62.50
                        negotiations and strategy (.1);
6/12/2023 Jesse Bair    Prepare for state court counsel meeting re strategy for      0.70     $437.50
                        upcoming Interstate mediation (.1); participate in state
                        court counsel meeting re same (.4); participate in post-
                        meeting conference with T. Burns re Interstate
                        negotiations strategy (.2);
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6/13/2023 Timothy Burns Travel from Madison to New York City for Interstate           7.00   $2,450.00
                        mediation [billed at 1/2 travel rate] (7.0);
6/13/2023 Jesse Bair    Review correspondence with I. Scharf and state court          0.10     $62.50
                        counsel re Interstate counter (.1);
6/14/2023 Timothy Burns Prepare for Committee meeting re upcoming Interstate          1.10    $770.00
                        mediation (.5); participate in call with J. Bair re same
                        (.1); review I. Scharf correspondence re same (.1);
                        participate in Committee meeting re same (.4);
6/14/2023 Jesse Bair    Participate in call with T. Burns re Interstate mediation     0.10     $62.50
                        strategy (.1);
6/14/2023 Jesse Bair    Prepare for Committee meeting re Interstate mediation         0.50    $312.50
                        (.1); participate in Committee meeting for insurance
                        purposes re same (.4);
6/15/2023 Timothy Burns Participate in portion of full-day Interstate mediation       7.60   $5,320.00
                        session (7.6);
6/15/2023 Timothy Burns Return travel from New York City to Madison from              6.20   $2,170.00
                        mediation [billed at 1/2 travel rate] (6.2);
6/15/2023 Jesse Bair    Prepare for mediation (.1); participate in portion of full-   7.50   $4,687.50
                        day Interstate mediation session (7.4);
6/15/2023 Jesse Bair    Analyze mediators' proposal re Interstate (.1);               0.10      $62.50
6/16/2023 Timothy Burns Participate in call with state court counsel re mediation     2.10   $1,470.00
                        outcome and mediator's proposal (.4); participate in
                        conference with J. Bair re same (.1); participate in call
                        with I. Scharf re CNA strategy (.5); met with J. Bair re
                        CNA litigation and settlement strategy (1.1);
6/16/2023 Jesse Bair    Participate in conference with T. Burns re the                0.10     $62.50
                        mediators' proposal (.1);
6/16/2023 Jesse Bair    Correspondence with I. Nasatir re response to First           0.10     $62.50
                        State's most recent counter (.1);
6/16/2023 Jesse Bair    Participate in conference with T. Burns re CNA litigation     1.10    $687.50
                        and settlement strategy (1.1);
6/16/2023 Jesse Bair    Review I. Scharf correspondence re the mediators'             0.10     $62.50
                        proposal (.1);
6/19/2023 Jesse Bair    Analysis re Interstate coverage defenses in advance of        0.40    $250.00
                        Committee meeting (.3); correspondence with T. Burns
                        re same (.1);
6/19/2023 Jesse Bair    Prepare for Committee meeting (.2); participate in            1.20    $750.00
                        Committee meeting for insurance purposes re the
                        mediators' proposal and potential settlement with
                        Interstate (1.0);
6/19/2023 Timothy Burns Reviewed and considered correspondence re First               1.90   $1,330.00
                        State settlement negotiations (.2); reviewed I. Scharf's
                        draft correspondence to the Committee re Interstate
                        negotiations (.1); analysis re settlement issues with
                        Interstate (.2) correspondence with J. Bair re same (.1);
                        brief review of draft timeline re abuse (.1); prepare for
                        Committee meeting re potential Interstate settlement
                        (.2); participate in Committee meeting re potential
                        Interstate settlement (1.0);


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6/20/2023 Timothy Burns Reviewed mediator proposal result (.1); conference             2.30   $1,610.00
                        with J. Bair re same (.2); call with I. Scharf re same (.3);
                        additional conference with J. Bair re same and next-
                        steps (.2); participate in call with state court counsel re
                        same (.3); participate in insurance strategy
                        development session with J. Bair re same (.7);
                        participate in call with I. Scharf re same (.3); participate
                        in call with state court counsel re same (.2);
6/20/2023 Jesse Bair    Review mediator proposal result (.1); participate in           0.30    $187.50
                        conference with T. Burns re same (.2);
6/20/2023 Jesse Bair    Analysis re insurance demand letter issues and related         0.60    $375.00
                        strategy (.5); correspondence with T. Burns re same
                        (.1);
6/20/2023 Jesse Bair    Participate in additional conference with T. Burns re          0.50    $312.50
                        mediator proposal outcome and next-steps re
                        insurance strategy (.2); participate in call with state
                        court counsel re same (.3);
6/20/2023 Jesse Bair    Participate in detailed, supplemental strategy                 1.20    $750.00
                        development session with T. Burns re going forward
                        insurance strategy and upcoming CNA mediation (.7);
                        participate in call with I. Scharf and T. Burns re same
                        (.3); participate in call with state court counsel and T.
                        Burns re same (.2);
6/21/2023 Timothy Burns Prepare for call with I. Scharf and state court counsel re     2.90   $2,030.00
                        Interstate developments (.4); participate in call with I.
                        Scharf, J. Bair, and certain state court counsel re same
                        (.6); participate in conference with J. Bair re post-
                        confirmation trust issues (.4); reviewed and revised
                        PowerPoint for state court counsel meeting re going-
                        forward insurance strategy (.8); participate in state
                        court counsel meeting re same (.7);
6/21/2023 Nathan Kuenzi Revise and update CNA demand letters (1.0);                    1.00    $420.00
6/21/2023 Jesse Bair    Draft PowerPoint presentation re going-forward                 0.70    $437.50
                        insurance strategy for use during upcoming state court
                        counsel meeting (.7);
6/21/2023 Jesse Bair    Participate in call with I. Scharf, T. Burns, and certain      1.00    $625.00
                        state court counsel re going-forward insurance strategy
                        (.6); participate in follow-up conference with T. Burns re
                        post-confirmation trust issues (.4);
6/21/2023 Jesse Bair    Participate in state court counsel meeting re going-           0.70    $437.50
                        forward insurance strategy and next-steps re same (.7);
6/21/2023 Jesse Bair    Correspondence with N. Kuenzi re CNA demand letter             0.10     $62.50
                        project (.1);
6/22/2023 Jesse Bair    Participate in conference with T. Burns re CNA demand          0.10     $62.50
                        letters (.1);
6/22/2023 Jesse Bair    Draft correspondence to each applicable state court            0.90    $562.50
                        counsel group re draft CNA demand letters (.9);




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6/22/2023 Jesse Bair      Prepare for call with certain state court counsel re CNA     0.60    $375.00
                          demand issues (.2); participate in call with additional
                          state court counsel re same (.3); follow-up
                          correspondence with state court counsel re CNA
                          exposure (.1);
6/22/2023 Jesse Bair      Conference with T. Burns re upcoming Committee               0.90    $562.50
                          meeting (.1); participate in Committee meeting re case
                          insurance strategy (.6); participate in post-call with T.
                          Burns re next steps re insurance (.2);
6/22/2023 Jesse Bair      Correspondence with I. Scharf re CNA demand letters          0.10     $62.50
                          and Interstate status (.1);
6/22/2023 Nathan Kuenzi   Continue revising and updating CNA demand letters            1.60    $672.00
                          (1.6);
6/22/2023 Nathan Kuenzi   Review J. Bair correspondence re CNA demand letter           0.10     $42.00
                          project (.1);
6/22/2023 Timothy Burns   Participate in conference with J. Bair re CNA demand         2.60   $1,820.00
                          letters (.1); review correspondence from I. Scharf re
                          Interstate developments (.1); review correspondence
                          with J. Bair and I. Scharf re insurance demands (.1);
                          review correspondence re committee meeting re
                          Interstate issues (.2); reviewed draft insurance
                          demands (.2); reviewed correspondence from state
                          court counsel re insurance demands (.2); reviewed
                          correspondence from J. Bair to I. Scharf re insurance
                          demands issues (.1); prepare for Committee meeting
                          re case insurance issues (.7); conference with J. Bair re
                          same (.1); participate in Committee meeting re
                          Interstate and CNA insurance strategy (.6); participate
                          in post-call with J. Bair re insurance next steps (.2);
6/23/2023 Timothy Burns   Consideration of stay issues surrounding demand              1.20    $840.00
                          letters (.3); participate in conference with J. Bair re
                          same (.1); reviewed and responded to correspondence
                          from state court counsel re insurance demand letters
                          (.1); correspondence with PSZJ re upcoming mediator
                          meeting (.1); participate in call with certain state court
                          counsel re same (.1); conference with J. Bair re same
                          (.1); participate in portion of meeting with the mediators
                          re ongoing insurance issues (.2); participate in call with
                          Debtor's counsel re insurance (.1); post-call with J. Bair
                          re outcome of same (.1);
6/23/2023 Jesse Bair      Participate in conference with T. Burns re insurance         0.40    $250.00
                          demand issues (.1); additional analysis re same (.1);
                          participate in call with certain state court counsel re
                          same (.2);
6/23/2023 Jesse Bair      Participate in conference with the mediators and state       0.50    $312.50
                          court counsel re mediation developments and next-
                          steps (.5);
6/23/2023 Jesse Bair      Participate in call with the Diocese and T. Burns re         0.20    $125.00
                          case insurance issues (.1); participate in post-call with
                          T. Burns re same (.1);
6/23/2023 Jesse Bair      Correspondence with I. Scharf re mediation                   0.10     $62.50
                          developments and insurance demand letters (.1);
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6/26/2023 Jesse Bair     Participate in conference with T. Burns re insurance          0.10       $62.50
                         next-steps(.1);
6/26/2023 Jesse Bair     Review correspondence with I. Scharf re mediation             0.10       $62.50
                         developments (.1);
6/26/2023 Timothy Burns Participate in conference with J. Bair re insurance next-      0.10       $70.00
                         steps(.1);
6/27/2023 Jesse Bair     Correspondence with each state court counsel group re         0.70      $437.50
                         finalization of CNA demand letters (.5); correspondence
                         with I. Scharf re same (.1); participate in call with state
                         court counsel re same (.1);
6/27/2023 Timothy Burns Review correspondence with J. Bair and I. Scharf re            0.30      $210.00
                         insurance demand letter project (.2); correspondence
                         with I. Scharf re Interstate mediation (.1);
6/28/2023 Jesse Bair     Review and respond to correspondence with state               0.20      $125.00
                         court counsel re CNA demand letter issues (.2);
6/28/2023 Jesse Bair     Participate in call with I. Scharf and T. Burns re            0.10       $62.50
                         mediation developments and insurance demand letters
                         (.1);
6/29/2023 Jesse Bair     Participate in call with certain state court counsel re       0.30      $187.50
                         mediation updates and insurance demand letters (.2);
                         participate in call with additional state court counsel re
                         CNA demand letters (.1);
6/29/2023 Jesse Bair     Review final version of CNA demand letters (.2);              0.20      $125.00
6/29/2023 Timothy Burns Review correspondence with BB and state court                  0.40      $280.00
                         counsel re demand letters (.2); review correspondence
                         with I. Scharf, state court counsel, and the Committee re
                         mediation developments (.1); review final version of
                         CNA demand letters (.1);
6/30/2023 Brian Cawley Draft interstate insurance demand letters (5.4);                5.40     $2,268.00
6/30/2023 Timothy Burns Review correspondence with BB team re Interstate               0.30      $210.00
                         demand letters (.2); review correspondence and
                         spreadsheet from I. Scharf re same (.1);
6/30/2023 Timothy Burns Participate in conference with J. Bair re insurance            0.10       $70.00
                         demand letters (.1);
6/30/2023 Alyssa Turgeon Assist in drafting Interstate demand letters (.5);            0.50      $180.00
6/30/2023 Jesse Bair     Analysis of claims and coverage exposure in                   0.70      $437.50
                         connection with potential Interstate demands (.6);
                         correspondence with I. Scharf re same (.1);
6/30/2023 Jesse Bair     Provide instructions to BB team re preparing Interstate       0.60      $375.00
                         demand letters (.3); answer follow-up questions from
                         team re same (.3);
6/30/2023 Jesse Bair     Review revised version of particular CNA demand               0.30      $187.50
                         letters (.1); participate in conference with T. Burns re
                         same and additional demand letter issues (.1);
                         correspondence with state court counsel re CNA
                         demand letter issues (.1);
6/30/2023 Katie Sticklen Draft sub-set of Interstate demand letters (2.0);             2.00      $756.00
6/30/2023 Leakhena Au Draft Interstate demand letters (6.1);                           6.10     $2,562.00
6/30/2023 Nathan Kuenzi Draft final set of Interstate demand letters (4.0);            4.00     $1,680.00
Total Hours and Fees                                                                   83.70   $46,147.50
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                                      EXPENSES


Date                 Description                                                  Amount
6/8/2023             CloudNine, database monthly hosting fee (May 2023)             $46.97
6/13/2023            Hotel, T. Burns (2 nights)                                  $1,100.00
6/13/2023            Travel meal, T. Burns                                           $3.49
6/13/2023            Delta Airlines, T. Burns (MSN-LGA June 13)                   $579.00
6/14/2023            Travel meal, T. Burns                                           $7.39
6/15/2023            Travel meal, T. Burns                                          $33.04
6/15/2023            United Airlines, T. Burns (EWR-MSN June 15)                  $449.00
6/15/2023            Uber, T. Burns (hotel to airport)                            $133.79
Total Expenses                                                                   $2,352.68


                                Timekeeper Summary
Name                                   Hours                 Rate                 Amount
Alyssa Turgeon                           0.50             $360.00                  $180.00
Brian Cawley                             5.40             $420.00                $2,268.00
Jesse Bair                              25.50             $625.00               $15,937.50
Katie Sticklen                           2.00             $378.00                  $756.00
Leakhena Au                              6.10             $420.00                $2,562.00
Nathan Kuenzi                            6.70             $420.00                $2,814.00
Timothy Burns                           13.20             $350.00                $4,620.00
Timothy Burns                           24.30             $700.00               $17,010.00



                                                         Total Due This Invoice: $48,500.18




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